          Case 1:19-cr-10117-IT Document 471 Filed 09/20/19 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 )
UNITED STATES OF AMERICA                        )
                                                )
                                                )
            v.                                  )  No. 19-CR-10117-IT
                                                 )
                                                 )
(11) DEVIN SLOANE,                               )
                                                 )
                        Defendant               )
                                                 )

             REPLY IN OPPOSITION TO MOTION FOR A CLOSED HEARING

       The United States of America hereby respectfully submits this brief response in opposition

to Defendant Devin Sloane’s motion for a closed hearing to “provide the Court with testimony

regarding recent developments concerning information that has previously been filed under seal.”

In addition to Department of Justice policy, the Government’s reasons for opposing the closed

hearing are as follows:

       First, the Government was not made aware of Defendant’s intention to move for a closed

hearing until the afternoon of Friday, September 20, 2019, just four days prior to sentencing.

Notably, although defense counsel has told the Government that the testimony will be elicited from

Dr. Jeffrey Whiting, who has already filed a lengthy expert report in this matter, defense counsel

has been opaque about the precise nature of his testimony, stating only that it would “tak[e] into

consideration events which occurred subsequent to July.” The Government has received no

documentation regarding the “events” referenced by defense counsel or any indication as to why

Dr. Whiting could not file an update to his July 2019 report that is already before this Court.

Accordingly, given the late disclosure of Dr. Whiting’s proposed testimony, as well as the failure

to disclose the nature of said testimony, which prevents the Government from preparing for the

hearing, preclusion of Dr. Whiting’s live testimony is warranted. See United States v. Claudio, 44
           Case 1:19-cr-10117-IT Document 471 Filed 09/20/19 Page 2 of 2



F.3d 10, 16 (1st Cir. 1995) (“there is no automatic right to present live testimony at sentencing,”

and Court approved a “proffer” of the proposed testimony in lieu of the live witness); see also

United States v. Pedroza-Orengo, 817 F.3d 829, 835 (1st Cir. 2016) (same).

       Second, the testimony of Dr. Whiting will be cumulative of other evidence already

provided to the Court. In addition to the July 2019 report by Dr. Whiting, Defendant has also

filed under seal medical-related expert reports by: Dr. Sheila Balkan, Dr. Laura Bruno, Kathleen

Mojas, Ph. D., Dr. Karol Darsa, James Flowers, Ph. D, Genise Fraiman, MD, and Betsy Braun.

Clearly, the Court has been made aware of sufficient materials concerning Defendant that do not

require further amplification at a closed hearing. Pedroza-Orengo, 817 F.3d at 835 (district court

did not abuse its suggestion in denying continuance in order to provide live testimony “given the

absence of any suggestion that the expert’s live testimony would contribute anything beyond what

the expert had already stated in the detailed written report that had been provided for the district

court”).

       Accordingly, for these reasons, the Government respectfully asks this Court to deny

Defendant’s request for a closed hearing prior to sentencing. 1

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     UNITED STATES ATTORNEY

Dated: September 20, 2019                     By:    /s/ Eric S. Rosen
                                                     ERIC S. ROSEN
                                                     JUSTIN D. O’CONNELL
                                                     LESLIE A. WRIGHT
                                                     KRISTEN A. KEARNEY
                                                     Assistant United States Attorneys



1
  Counsel for the Government also told defense counsel that given the late nature of the request
for a supplemental sentencing hearing, a scheduling conflict prevents his attendance at any
closed hearing from 11:00 a.m. to 1:00 p.m. on September 24, 2019.
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